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                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION

 UNITED STATES OF AMERICA
                                            No. 17 CR 611-1, 611-3, and 611-4
              v.

 LABAR SPANN,                               Honorable Thomas M. Durkin
 TREMAYNE THOMPSON, and
 JUHWUN FOSTER

  GOVERNMENT’S REPORT TO THE COURT ON THE STATUS OF THE
                 DEATH PENALTY REVIEW

      The United States of America, by its attorney, JOHN R. LAUSCH, JR., United

States Attorney for the Northern District of Illinois, respectfully submits the instant

status report regarding the death penalty review as directed by the Court on April 6,

2020. Doc. #720. The government responds as follows:

      1.     Today, April 13, 2020, the Attorney General of the United States

authorized and directed the United States Attorney not to seek the death penalty

against Labar Spann, Tremayne Thompson, and Juhwun Foster.

                                        Respectfully submitted,

                                        JOHN R. LAUSCH, JR.
                                        United States Attorney

                                   By: s/ Peter S. Salib
                                      PETER S. SALIB
                                      TIMOTHY J. STORINO
                                      WILLIAM DUNNE
                                      KAVITHA BABU
                                      Assistant U.S. Attorneys
                                      219 South Dearborn, Room 500
                                      Chicago, IL 60604
                                      312) 353-5300

Dated: April 13, 2020
